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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                           ROCK HILL DIVISION

Eddie Washington,                           )          C/A No.: 0:21-98-MGL-SVH
                                            )
                    Plaintiff,              )
                                            )
  vs.                                       )                ORDER
                                            )
York County Sheriff’s Office; and           )
Sergeant Nicholas Schifferle,               )
                                            )
                    Defendants.             )



        This matter comes before the court on the motion [ECF No. 51] of York

County Sheriff’s Office and Sergeant Nicholas Schifferle (“Defendants”) to

compel Eddie Washington (“Plaintiff”) to produce responses to Defendants’

First Set of Interrogatories and First Set of Requests for Production

(“Discovery Requests”), which are attached to Defendants’ motion at ECF No.

51-1.

        The motion indicates the Discovery Requests were first served on

Plaintiff on August 3, 2021. After attempting to obtain responses to the

Discovery Requests from Plaintiff by letter dated September 22, 2021 [ECF

No. 51-2], Defendants had not received responses by October 12, 2021, the date

of the motion to compel.




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      In light of the foregoing, the court grants Defendants’ motion to compel.

Plaintiff is directed to provide responses to the Discovery Requests by October

26, 2021. Because Plaintiff failed to timely respond to the discovery, any and

all objections are deemed waived under Fed. R. Civ. P. 33(b)(4). Plaintiff is

advised that failure to comply with the court’s order may result in sanctions,

including payment of Defendants’ attorneys’ fees and costs in preparing such

motions.

      IT IS SO ORDERED.


October 12, 2021                           Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




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